 1                                                                           The Honorable James L. Robart

 2

 3

 4

 5

 6

 7
                                   UNITED STATES DISTRICT COURT
 8                           WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 9      BRENDAN DUNN, JACOB ERWIN, and                            NO. C08-0978 JLR
        RYAN TOMPKINS,
10                                                                DECLARATION OF HEATHER L.
                                   Plaintiffs,
                            v.                                    CARR IN SUPPORT OF
11                                                                SUMMARY JUDGMENT MOTION
        MATTHEW HYRA, et al.,
12
                                   Defendants.
13
                HEATHER L. CARR hereby states as follows:
14
                1.        I am one of the attorneys for the defendants in the above-captioned matter. I
15
     make this declaration on the basis of personal knowledge, and am competent to testify to the
16
     matters herein.
17
                2.        Attached to and referenced in this declaration are true and correct copies of
18
     documents generated or received and maintained by my office during the course of this
19
     litigation:
20
                a.        Exhibit 1 is excerpts from the deposition of Officer Matthew Hyra.
21
                b.        Exhibit 2 is excerpts from the deposition of Officer Steven Bale.
22
                c.        Exhibit 3 is excerpts from the deposition of Plaintiff Jacob Erwin.
23

     DECLARATION OF HEATHER L. CARR IN SUPPORT OF
     SUMMARY JUDGMENT MOTION - 1                                                     PROFESSIONAL CORPORATION

     C08-0978 JLR                                                                    601 Union Street, Suite 3100
     3019-029774 425173
                                                                                       Seattle WA 98101.1374
                                                                               TEL   206.623.9900   FAX   206.624.6885
 1              d.        Exhibit 4 is excerpts from the deposition of Plaintiff Ryan Tompkins.

 2              e.        Exhibit 5 is excerpts from the deposition of Plaintiff Brendan Dunn. Note the

 3   photograph attached to Dunn s deposition as deposition Exhibit 3 is a photograph of Plaintiff

 4   Ryan Tompkins, taken by Betty Udeson for The Seattle Times, during his arrest by Seattle police

 5   officers at Cal Anderson Park on October 5, 2006.                      The photograph is contained in the

 6    slideshow presented with The Seattle Times online article Administration foes step out state-

 7   wide ,          by   Tan   Vinh,    on   Friday,   October        6,     2006,     which          is         published      at

 8   http://seattletimes.nwsource.com/html/localnews/2003291538_rally06m.html.

 9              f.        Exhibit 6 is a photograph of Plaintiff Jacob Erwin, taken by Gilbert W. Arias for

10   The Seattle Post Intelligencer, during Erwin s arrest by Seattle police officers at Cal Anderson

11   Park on October 5, 2006. The photograph is contained with The Seattle Post Intelligencer s

12   online article Hundreds protest Bush Regime               Daylong demonstration ends with 5 arrests ,

13   by      Mike         Barber,   on    Friday,    October      6,        2006,     which           is      published          at

14   http://seattlepi.nwsource.com/local/287766_peacemarch06.html.

15              g.        Exhibit 7 is excerpts from the deposition of Officer Richard Roberson.

16              h.        Exhibit 8 is excerpts from the deposition of Officer John Skommesa.

17              i.        Exhibit 9 has been removed from this declaration.

18              j.        Exhibit 10 is excerpts from the criminal docket for Plaintiff Jacob Erwin.

19              k.        Exhibit 11 is excerpts from the criminal docket for Plaintiff Ryan Tompkins.

20              l.        Exhibit 12 is excerpts from the criminal docket for Plaintiff Brendan Dunn.

21              m.        Exhibit 13 is excerpts from Dunn s answers to the City of Seattle s First Set of

22   Interrogatories and requests for Production to Plaintiff Brendan Dunn. Because Plaintiff did not

23   include the questions with his answers, also attached are the corresponding questions. Dunn s

     DECLARATION OF HEATHER L. CARR IN SUPPORT OF
     SUMMARY JUDGMENT MOTION - 2                                                            PROFESSIONAL CORPORATION

     C08-0978 JLR                                                                           601 Union Street, Suite 3100
     3019-029774 425173
                                                                                              Seattle WA 98101.1374
                                                                                      TEL   206.623.9900    FAX   206.624.6885
 1   answers are the same or substantially the same as those provided by Erwin and Tompkins.

 2   Consequently, Defendants have not submitted those as well. If the Court requires the answers

 3   from Erwin and Tompkins be submitted as well, Defendants will immediately do so upon

 4   request.

 5              n.        Exhibit 14 is a print out of the King County Jail Booking Events for Jacob Erwin.

 6              o.        Exhibit 15 is Seattle Police Department Policies and Procedures, Section 2.049

 7   Evidence, Private Property Collection & Release.

 8              3.        When Plaintiffs filed this lawsuit, they named John Does 1-250 as defendants.

 9   Dkt. 4 (Compl.). With their initial disclosures, Defendants submitted all documents relevant to

10   this lawsuit that were known to them at the time. Defendants also fully and timely answered all

11   written discovery propounded by any of the three plaintiffs. Defendants made available for

12   deposition any Seattle police officer who may have any knowledge concerning the events

13   underlying this lawsuit, but Plaintiffs only sought to depose four. Plaintiffs have never claimed

14   Defendants did not fully comply with discovery. See generally Dkt. The discovery deadline has

15   now closed. Dkt. 26, 37. In fact, Defendants waited for the deadline to pass before moving for

16   summary judgment specifically so that Plaintiffs could have all the opportunity allotted them to

17   conduct the discovery necessary to support their claims. The deadline for joining additional

18   parties has also closed. Dkt. 26. Nevertheless, Plaintiffs have not identified, joined, or served

19   the 250 John Doe defendants originally listed in their Complaint. See generally Dkt.

20              4.        Based upon his testimony and the lack of documentary evidence suggesting

21   otherwise, it is apparent that prior to or during this lawsuit, Mr. Dunn did not follow the

22   protocols published by the City of Seattle as to how to obtain the return of property that was

23   taken into evidence. Consequently, he did not obtain his flag s return. No evidence, testimonial

     DECLARATION OF HEATHER L. CARR IN SUPPORT OF
     SUMMARY JUDGMENT MOTION - 3                                                    PROFESSIONAL CORPORATION

     C08-0978 JLR                                                                   601 Union Street, Suite 3100
     3019-029774 425173
                                                                                      Seattle WA 98101.1374
                                                                              TEL   206.623.9900   FAX   206.624.6885
 1   or otherwise, suggests he was given the run around by the City or any of its employees. On July

 2   17, 2009, the Court ordered the City to return the flag and flag pole to Mr. Dunn without

 3   requiring him to follow the established protocols. Mr. Dunn s attorney claimed he was to obtain

 4   the flag and flag pole on Mr. Dunn s behalf. The City timely provided it to Mr. Dunn s attorney

 5   as ordered by the Court.

 6   I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF WASHINGTON
     STATE AND THE UNITED STATES THAT THE FOREGOING IS TRUE AND CORRECT.
 7
                Executed this 31st day of August, 2009 at Seattle, Washington.
 8

 9
                                                    /s/    Heather Carr via ECF
10                                                Heather Carr

11

12

13

14

15

16

17

18

19

20

21

22

23

     DECLARATION OF HEATHER L. CARR IN SUPPORT OF
     SUMMARY JUDGMENT MOTION - 4                                                PROFESSIONAL CORPORATION

     C08-0978 JLR                                                               601 Union Street, Suite 3100
     3019-029774 425173
                                                                                  Seattle WA 98101.1374
                                                                          TEL   206.623.9900   FAX   206.624.6885
 1                                           Certificate of Service

 2
            I certify that on the date noted below I electronically filed this document entitled
     DECLARATION OF HEATHER L. CARR IN SUPP. OF SUMM. J. MOT. with the Clerk of
 3   the Court using the CM/ECF system which will send notification of such filing to the following
     persons:
 4

 5   Lawrence A. Hildes,
     lhildes@earthlink.net
 6   Law Offices of Lawrence A. Hildes
     PO Box 5405
     Bellingham, WA 98227
 7          Attorneys for Plaintiffs Dunn, Erwin and Tompkins
 8

 9   and I certify that I have caused to be served in the manner noted below a copy of the above-listed
     document to the following non CM/ECF participants:
10
                N/A
11
                DATED this 31st day of August, 2009, at Seattle, Washington.
12

13                                                      /s/ Heather L. Carr via ECF
14

15

16

17

18

19

20

21

22

23

     DECLARATION OF HEATHER L. CARR IN SUPPORT OF
     SUMMARY JUDGMENT MOTION - 5                                                PROFESSIONAL CORPORATION

     C08-0978 JLR                                                               601 Union Street, Suite 3100
     3019-029774 425173
                                                                                  Seattle WA 98101.1374
                                                                          TEL   206.623.9900   FAX   206.624.6885
